           Case 18-65798-pmb             Doc 11       Filed 09/27/18 Entered 09/27/18 06:01:23                    Desc Main
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                                                 IN THE UNITED STATES BANKRUPTCY COURT
                                                 FOR THE NORTHERN DISTRICT OF GEORGIA

In RE:             RAVEN IMANI RABIA                                  §          Case Number:         18-65798-PB -13
                                                                      §
                   Debtor(s)                                          §          Chapter:        13

                                       REQUEST FOR NOTICE UNDER BANKRUPTCY RULE 2002
                PLEASE TAKE NOTICE THAT BMW Bank of North America hereby gives notice as follows:
         Pursuant to 11 U.S.C. §342(f)(1), AIS Portfolio Services, LP hereby requests that:
                (i)          all notices given or required to be given in the case; and
                (ii)         all pleadings and correspondence served or required to be served in this case,
         regarding BMW Bank of North America should be directed to AIS Portfolio Services, LP at the following mailing
         address effective immediately:

               Attn: BMW Bank of North America Department
               AIS Portfolio Services, LP
               Account: XXXXXX3927
               4515 N Santa Fe Ave. Dept. APS
               Oklahoma City, OK 73118

                 This request encompasses all notices, copies and pleadings referred to in Rules 2002, 9007 or 9008 of the
         Bankruptcy Rules, including, without limitation, notices of any Orders, Motions, Demands, Complaints, Petitions,
         Pleadings, Requests, Applications, Schedules, Statements, Plans, and any other documents brought before this court
         in this case, whether formal or informal, written or oral, or transmitted or conveyed by mail, delivery, telephone,
         telecopier, telex, or otherwise which affects or seeks to affect the above case.

                                                                      Respectfully submitted,

                                                                      /s/ Rejoy Nalkara
                                                                      REJOY NALKARA
                                                                      Claims Processor
                                                                      Bankruptcy Servicer for BMW Bank of North America
                                                                      AIS Portfolio Services, LP
                                                                      4515 N Santa Fe Ave. Dept. APS
                                                                      Oklahoma City, OK 73118
                                                                      (817)277-2011, Fax (817) 461-8070
                                                                      ecfnotices@ascensioncapitalgroup.com
                                                                      File # 1183832
